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                    UNITED STATES DISTRICT COURT
                                    FOR THE
                            DISTRICT OF COLUMBIA



SOUTHERN CHRISTIAN LEADERSHIP
CONFERENCE,

              Plaintiffs,
                                              Case No.: 76-1186
v.

CLARANCE M. KELLEY, et al.,

              Defendants.



           PLAINTIFFS’ RESPONSE IN OPPOSITION TO THE
     UNITED STATES’ MOTION TO UNSEAL TAPES AND DOCUMENTS


                            (Oral Argument Requested)
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                                    INTRODUCTION

       Nearly fifty years ago, Plaintiff Southern Christian Leadership Conference

(“SCLC”) brought this action to vindicate the Federal Bureau of Investigation’s

(“FBI”) gross violations of its federal constitutional and statutory rights. Over a

period of at least five years, from 1963 through 1968, the FBI illegally surveilled

Reverend Dr. Martin Luther King, Jr. (“Dr. King”), the president and founder of

SCLC, as well as numerous SCLC members and those they interacted with—at

SCLC’s offices, in places of public accommodation, and at Dr. King’s home. At the

conclusion of the litigation, this Court entered an order sealing wiretap recordings,

transcripts, and logs generated as a result of this illegal surveillance for a period of

fifty years. That order still has full legal effect.

       The Government seeks to unseal these records. See Doc. 2. It does so without

legal justification, which is alone reason for this Court to deny the extraordinary

request. But even the purported factual bases on which the Government relies do not

withstand scrutiny. The Government invokes a recently issued executive order that

directs the federal government to release documents related to the assassination of

Dr. King. But whether in the form of an executive order or other directive, the

President lacks the authority to compel the disclosure of any assassination records

that are under a court-ordered seal, and the sealed files—which are the result of

illegal incursions on SCLC’s privacy interests—are much more expansive in scope

than those pertaining to Dr. King’s assassination. In addition, the Government’s




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recent mishandling of similar sensitive files casts doubt on whether it would handle

these sensitive documents with the care they require.

      The Government also contends that the public interest, and the interests of the

King family, weigh in favor of unsealing. SCLC has a countervailing interest in

maintaining the records under seal, though: They almost certainly contain privileged

communications between SCLC officers and their legal counsel. Critically—and

contrary to the Government’s suggestion—Dr. King’s living family members, who

have devoted their lives to carrying on the legacy of Dr. King’s work with SCLC,

oppose this premature request to unseal. Also, the sealed files, which consist of covert

recordings of private citizens, cannot be likened to public records that the public has

an interest in accessing. Finally, the sealed files are highly unreliable insofar as they

purport to paint a picture of Dr. King’s work with SCLC and releasing them would

undermine the public’s trust in the government.

      The Court should deny the Government’s legally unsupported request. 1

                                   BACKGROUND

      Dr. King is one of the most important figures in the history of the United

States. His contributions to the civil rights struggles of the 1950s and 1960s

transformed our nation and gave hope to countless advocates of freedom and equity

across the globe. During the majority of his public life, and at all times relevant to




1 Under Local Rule 7(f), SCLC requests a hearing on this motion.


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this case, Dr. King served as SCLC’s president. 2 In 1957, Dr. King convened 115 civil

rights leaders from the South to embark on SCLC’s mission to “redeem[] the soul of

America” through nonviolent protest challenging racial segregation in America. 3

Until Dr. King was assassinated on April 4, 1968, SCLC provided the foundation for

his civil rights activism. SCLC’s role in and contributions to the civil rights movement

during Dr. King’s life are synonymous with those of Dr. King.

      During Dr. King’s life—and during the height of the civil rights movement for

Black freedom and self-determination—the federal government vilified and

demonized Dr. King, along with other Black civil rights leaders. The FBI attempted

to accomplish the goal of discrediting Dr. King and SCLC through its now-infamous

counterintelligence program (“COINTELPRO”). 4 The surveillance involved illegally

wiretapping Dr. King’s home, SCLC offices, and hotel rooms in which he and other

SCLC members convened. 5 Under COINTELPRO, the FBI labeled SCLC a “Black

Nationalist–Hate Group[],” and identified Dr. King as a Black leader who posed a

threat because he was on a trajectory to become a “messiah” who could “unify and




2 Southern Christian Leadership Conference (SCLC), THE MARTIN LUTHER KING, JR.

RSCH. & EDUC. INST., https://kinginstitute.stanford.edu/southern-christian-
leadership-conference-sclc (last visited Apr. 3, 2025).
3 Id.
4 See S. SELECT COMM. TO STUDY GOVERNMENTAL OPERATIONS WITH RESPECT TO

INTEL. ACTIVITIES, Supplementary Detailed Staff Reports on Intelligence Activities
and the Rights of Americans, S. REP. NO. 94-755 bk. III at 179 (1976).
5 See Federal Bureau of Investigation (FBI), THE MARTIN LUTHER KING, JR. RSCH. &

EDUC. INST., https://kinginstitute.stanford.edu/federal-bureau-investigation-fbi (last
visited Apr. 3, 2025); see also Jan. 31, 1977 Order at 4 (specifying SCLC’s offices,
Dr. King’s home, and places of public accommodation as locations of the FBI’s
wiretapping).

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electrify the militant black nationalist movement.” 6 J. Edgar Hoover, the FBI

Director at the time, repeatedly indicated his disdain for Dr. King and led a

government-sponsored effort to discredit his character. 7 In short, the overt goal of the

FBI’s surveillance was to undermine the work and dilute the impact of Dr. King and

SCLC. 8

       After learning of the FBI’s role in covertly surveilling SCLC’s activities, in

1976, SCLC and Bernard Lee, who served as Dr. King’s executive assistant at SCLC,

filed this action against the FBI Director and individual FBI agents (the “FBI

Defendants”) challenging the legality of the FBI’s actions. See Doc. 2-1, Plaintiff Lee’s

Am. Compl. & Doc. 2-2, Plaintiff SCLC’s Am. Compl. They sought money damages to

compensate them for the violations of their First Amendment and Due Process rights,

as well as an order requiring the destruction or impoundment of the surveillance files.

Plaintiff Lee’s Am. Compl. at 4–5; Plaintiff SCLC’s Am. Compl. at 5.

       Ultimately, in January 1977, this Court entered an order dismissing SCLC’s

and Mr. Lee’s damages claims against the FBI Defendants, concluding that they were

barred by the statute of limitations. Doc. 2-3, Jan. 31, 1977 Order, at 2.

Simultaneously, the Court ordered that the surveillance records be “turned over,

under seal, to the Archivist of the United States.” Id. at 3. Specifically, it directed the

FBI to gather “all known copies of the recorded tapes, and transcripts thereof,

resulting from the FBI’s microphonic surveillance, between 1963 and 1968, of



6 S. REP. NO. 94-755 bk. III at 179–180.
7 See S. REP. NO. 94-755 bk. III at 140–143, 154.
8 See id. at 140–143, 154, 179–180.


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[SCLC’s] former president, Martin Luther King, Jr.; and all known copies of the

tapes, transcripts and logs resulting from the FBI’s telephone wiretapping, between

1963 and 1968, of [SCLC’s] offices in Atlanta, Georgia and New York, New York, the

home of Martin Luther King, Jr., and places of public accommodation occupied by

Martin Luther King, Jr.” (the “MLK Files”). Id. at 3–4. The Court required the FBI

to deliver “under seal an inventory of said tapes and documents” to the Court and to

“deliver said tapes and documents to the custody of the National Archives and

Records Service, to be maintained by the Archivist of the United States under seal

for a period of fifty (50) years.” Id. at 4.

       The files were delivered to the National Archives in batches, with the final

delivery occurring on October 26, 1977. 9 See Ex. 1, SCLC v. Kelley Docket Sheet

(“1976 Dkt.”), at 4 (on Aug. 5, 1977, “ORDER granting motion of Kelley for

enlargement of time to 10-26-77 within which to comply with this Court order of 1-

31-77.”); id. (FBI Defendants’ notice to court that the sealed files were delivered to

the National Archives on Oct. 26, 1977). Based on this Court’s order, the MLK Files

are to remain under seal until October 26, 2027—approximately two and a half years

from now. Despite this, the Government has filed a legally baseless motion to

prematurely lift the seal, relying on the supposed need to facilitate compliance with

a recently issued executive order relating only to the assassination of Dr. King, and



9 The FBI Defendants twice moved for an extension of time to compile and deliver

the MLK Files. See 1976 Dkt. at 4 (docket entries reflecting a motion for, first, an
additional 90 days to comply with the Court order (on April 21, 1977) and, second,
for an enlargement of time (on July 28, 1977)). The Court granted both motions and
ultimately extended the deadline until October 26, 1977. Id.

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on inaccurate representations concerning the interests of the King family and the

public. See Doc. 2, Mot. to Unseal.

                                      ARGUMENT

        The Court should deny the Government’s motion for three reasons: (1) there is

no legal basis for the Government’s request to prematurely unseal the MLK Files; (2)

the records at issue are beyond the scope of the executive order upon which the

Government relies; and (3) unsealing the MLK Files is contrary to the interests of

SCLC, the King family, and the public.

   I.      There is No Legal Basis for the Government’s Request to Unseal the
           MLK Files.

        The Government provides no legal justification for its extraordinary request to

undo this Court’s order sealing the MLK Files. That is because none exists.

        In this Circuit, motions to unseal records are ordinarily evaluated under a six-

part test that considers “the interests advanced by the parties in light of the public

interest and the duty of the courts.” In re Leopold to Unseal Certain Elec. Surveillance

Applications & Ords., 964 F.3d 1121, 1131 (D.C. Cir. 2020) (citation omitted); see also

United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980). But as the Government

correctly acknowledges in its motion, Doc. 2 at 3 n.1, that test does not apply here

because the MLK Files do not constitute “judicial records.” This is because the MLK

Files do not appear to have been entered into the record in this case, and regardless,

they were not “intended to influence” the Court, nor did the Court “make decisions

about them.” In re Leopold, 964 F.3d at 1128 (cleaned up).




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         The Government did not identify any other framework that would govern a

request to undo a binding judicial order more than 48 years after it was entered, nor

has SCLC been able to find one. 10 Seemingly recognizing that it seeks extraordinary

relief without legal basis, the Government makes a cursory reference to “good cause,”

Doc. 2 at 1, but it does not identify a single government interest that would justify

the early unsealing of the MLK Files, legitimate, compelling, or otherwise. Rather, it

arbitrarily contends that the Court should unseal the MLK files simply because “the

records have remained shielded from the public for long enough.” Id. at 4. That is no

legal standard, and it is not a compelling reason to undo this Court’s order. The Court

should deny the Government’s motion for the mere fact that there is no legal

authority that justifies its request.

   II.      The Sealed Files Exceed the Scope of the Executive Order.

         In addition to the lack of legal authority for the Government’s extraordinary

request, the purported rationale for unsealing the records—to assist the Attorney

General in her compliance with Executive Order 14,176 (“Executive Order”), see Doc.

2 at 3—crumbles under scrutiny. The Executive Order directs “the release of

information pertaining to the assassination[]” of Dr. King. Exec. Order No. 14,176, 90

Fed. Reg. 8641 (Jan. 23, 2025). Though there are multiple indications that the MLK

Files cover a lot more territory than Dr. King’s assassination, the Government seeks



10 The Government’s motion is about 48 years too late to be considered a motion for

reconsideration under the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 59(e)
(motions to alter or amend the judgment must be filed no later than 28 days after the
entry of judgment); see also Fed. R. Civ. P. 60 (providing narrow grounds for relief
from a judgment or order, none of which apply here).

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an order unsealing them in their entirety with no indication of whether and how it

would limit public disclosure to files germane to that question.

      The MLK Files comprise “all known copies of the recorded tapes, and

transcripts thereof, resulting from the FBI’s microphonic surveillance, between 1963

and 1968, of the [SCLC]’s former president, Martin Luther King, Jr.; and all known

copies of the tapes, transcripts and logs resulting from the FBI’s telephone wire-

tapping, between 1963 and 1968, of the [SCLC]’s offices in Atlanta, Georgia and New

York, New York, the home of Martin Luther King, Jr., and places of public

accommodation occupied by Martin Luther King, Jr.” Jan. 31, 1977 Order at 4. Based

on the Court’s own description of the sealed files, as well as their historical

underpinnings, it is highly likely that the scope of the MLK Files is much broader

than information pertaining to Dr. King’s assassination, if they contain such

information at all. Specifically, the MLK Files extend only until an unspecified date

in 1968, see id.—the same year Dr. King was assassinated. But the FBI did not begin

its investigation into Dr. King’s murder until at least late in the evening of April 4,

1968, 11 suggesting that the files preceding that date may be minimally relevant to

the assassination. See also Ex. 2, Declaration by Martin Luther King III (“Martin

Luther King III Decl.”), ¶ 6 (“These surveillance recordings of our home in Atlanta

have nothing to do with our father’s murder in Memphis, hundreds of miles away.




11 King’s Assassination: A Timeline, PUBLIC BROADCASTING SERVICE (PBS),

https://www.pbs.org/wgbh/americanexperience/features/memphis-hunt/ (last visited
Apr. 3, 2025).

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They will shed no light on the assassination that is the subject of the President’s

executive order.”).

      The Government’s assertion that the MLK Files should be unsealed “so that

the Attorney General may review them, identify any records about the assassination

of the Reverend King, and release those records in compliance with the President’s

executive order,” Doc. 2 at 3, provides no measure of comfort. The Government’s

mishandling of the release of former President John F. Kennedy’s assassination file,

in accordance with the same Executive Order, is instructive. 12 In acting upon the

order, the Government released information not only related to the assassination, but

also extraneous and highly sensitive matters involving national security as well as

the Social Security numbers and personally identifiable information relating to

hundreds of people. 13 The assassination files that were released did not meaningfully

alter the pre-existing understanding of the events surrounding President Kennedy’s

assassination either, 14 even though that was the express purpose of the Executive

Order, see 90 Fed. Reg. at 8641 (“to finally release all records related to the

assassinations . . . .” (emphasis added)).




12 See Sarah Maslin Nir & Maggie Haberman, White House Seeks to Contain

Damage from Personal Data in Kennedy Files, N.Y. TIMES (Mar. 20, 2025),
https://www.nytimes.com/2025/03/20/us/jfk-assassination-files-personal-
information.html.
13 Id.
14 Joe Edwards, Newly Unredacted JFK Assassination Files Spark Renewed Debate,

But Do They Change the Story?, DALL. EXPRESS, (Mar. 21, 2025),
https://dallasexpress.com/national/the-new-jfk-files-what-are-the-updates-so-far/.

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      The Government’s mishandling of the records relating to President Kennedy’s

assassination underscores the need for the Court to maintain the seal on the MLK

Files. This is doubly true because there is no legal basis for the Government’s request

to unseal the MLK Files, whereas the President John F. Kennedy Assassination

Records Collection Act of 1992 authorizes the release of President Kennedy’s

assassination records. See 90 Fed. Reg. at 8641 (discussing 44 U.S.C. § 2107).

   III.   Unsealing the MLK Files is Contrary to SCLC’s, the King Family’s,
          and the Public’s Interest.

      The Government further attempts to justify its request by vaguely invoking

the “public interest in understanding the truth about the assassination of the

Reverend King,” Doc. 2 at 1, including that “the King family and the American public

‘deserve transparency and the truth’ about what occurred,” id. at 3–4 (citing

Executive Order). But the Government overlooks an overriding interest: The MLK

Files likely include attorney-client privileged information, which SCLC has a strong

interest in preserving. The Government also inaccurately represents the King

family’s interests: Dr. King’s living family members do not want the MLK Files to be

unsealed, and they have previously undertaken their own efforts to seek closure

around their father’s assassination. The public interest does not weigh in favor of

unsealing, either. The MLK Files, which consist entirely of the unlawful surveillance

of private citizens, cannot be likened to governmental records the public has an

interest in accessing. And the MLK Files are the result of the FBI’s covert

surveillance of Dr. King and SCLC with the specific intention of maligning Dr. King’s

reputation as his influence over the American public grew. The inherently tainted


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nature of the surveillance cuts against any suggestion that the files will lead to

greater transparency.

             A. The MLK Files contain attorney-client privileged information, which
                SCLC has a strong interest in preserving.

       It is highly likely that the MLK Files capture communications between SCLC

officers, including Dr. King, and their attorneys. 15 The MLK Files include

surveillance from SCLC’s headquarters, hotel rooms, and other sites of their

organizing. 16 And attorneys for SCLC defended Dr. King, SCLC, and protesters, often

meeting them in those very locations. 17 Worse, still, the FBI wiretapped the phone

lines of specific attorneys who advised Dr. King, including during the relevant time

period. 18

       SCLC has a strong interest in maintaining these communications under seal,

as they constitute attorney-client privileged communications “deemed worthy of

maximum legal protection.” In re Pub. Def. Serv., 831 A.2d 890, 900 (D.C. 2003)




15 See Leonard S. Rubinowitz et al., A “Notorious Litigant” and “Frequenter of Jails”:

Martin Luther King, Jr., His Lawyers, and the Legal System, 10 NW. J. L. & SOC.
POL’Y 494 (2016), http://scholarlycommons.law.northwestern.edu/njlsp/vol10/iss3/1
(discussing the various attorneys who represented Dr. King and SCLC and their
relationships with both throughout the course of Dr. King’s public life, inclusive of
the period of FBI surveillance).
16 Federal Bureau of Investigation (FBI), THE MARTIN LUTHER KING, JR. RSCH. &

EDUC. INST., https://kinginstitute.stanford.edu/federal-bureau-investigation-fbi (last
visited Apr. 3, 2025).
17 See Rubuinowitz et al., supra note 15, at 621–623 (appendix providing various

examples of lawyers engaging Dr. King and SCLC throughout the country).
18 See S. REP. NO. 94-755 bk. III at 340 (“In [1962], the office telephone of an advisor

to Dr. Martin Luther King, Jr.—also a lawyer—was wiretapped and his office was
bugged; his telephone was wiretapped again in 1963. A second attorney who advised
Dr. King was wiretapped in 1963[.]”) (footnotes omitted).

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(citation omitted). Despite the age of the MLK Files, the attorney-client privilege

endures as it “is perpetual, and does not cease with the termination of the suit, nor is

it affected by the party ceasing to employ the attorney and retaining another, nor by

any other change of relation between them, nor by the death of the client; the seal of

the law once fixed upon them remains forever.” Oliver v. Cameron, MacArth. & M.

237, 244, 11 D.C. 237, 244 (1880).

      Conversely, the Government has not identified a countervailing interest, let

alone one strong enough to overcome the attorney-client privilege.

           B. The King family opposes the premature unsealing of the MLK Files.

      In       its      motion,       the        Government         twice       invokes

the “King family[’s]” right to know the truth about Dr. King’s assassination as a

reason the seal should be prematurely lifted. Doc. 2 at 3–4. The Executive Order, too,

asserts that justification. 90 Fed. Reg. at 8641. But that contention is inaccurate. In

fact, Dr. King’s surviving children oppose the Government’s request.

      “The release of the sealed files will be traumatic for [the King] family.” Martin

Luther King III Decl. ¶ 11. The King family “respectfully disagree that the public

release of the sealed records is a benefit for our family.” Id. ¶ 7; see also Ex. 3,

Declaration of Dr. Bernice A. King (“Dr. Bernice King Decl.”), ¶ 12 (“While . . . the

government has stated in their motion that unsealing these files would be good for

my family, I wholeheartedly disagree.”). They “believe it would be a disservice to the

public to release these records divorced from the context necessary to understand

them properly,” and “whatever incremental historical value they have is outweighed



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by the harm their public release will cause to [the King] family and to the families of

others illicitly surveilled.” Martin Luther King III Decl. ¶ 10.

      Likewise, Dr. Bernice King believes that “that the Records should remain

sealed as originally ordered.” Dr. Bernice King Decl. ¶ 9. It is her “hope that the files

should be permanently sealed or destroyed, due to the illegal incursion and invasion

of [her] father’s privacy and their unreliability resulting from the untrustworthy

actions of the FBI and its Director, J. Edgar Hoover during the civil rights movement

of the 1950-60’s.” Id. ¶ 10. She has “no desire for these files to be unsealed and made

public, which would cause the matter of the unfair surveillance and treatment of [her]

father and his assassination to be addressed and rehashed once again.” Id. ¶ 12.

      The Government’s argument also ignores the reality that the King family

previously pursued its own quest for the truth about Dr. King’s assassination through

a wrongful death lawsuit—which resulted in a jury verdict concluding that Lloyd

Jowers and other unidentified co-conspirators, including government agencies, were

responsible. 19 Dr. King’s surviving family members “hoped the findings of [their] civil

wrongful death trial in 1999 would be a cathartic close to the examination of this

history altering event.” Dr. Bernice King Decl. ¶ 12; see also Martin Luther King III

Decl. ¶ 5. It is not up to the Government to decide for the King family whether to hold




19 Kevin Sack & Emily Yellin, Dr. King’s Slaying Finally Draws a Jury Verdict, but

to Little Effect, N.Y. TIMES (Dec. 10, 1999),
https://www.nytimes.com/1999/12/10/us/dr-king-s-slaying-finally-draws-a-jury-
verdict-but-to-little-effect.html (“Dr. King's widow and children exulted today in
the verdict, saying it vindicated their nearly three-year effort to revive the
investigation into his killing.”).

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onto any finality afforded to them by the jury verdict or to reopen old wounds and

revisit the circumstances of Dr. King’s assassination.

          C. The MLK Files cannot be likened to government records in which the
             public has an interest.

      The Government improperly assumes that the public has an implicit right to

review the MLK Files, likening them to public records. It argues that “the records

have remained shielded from the public for long enough” and that “[f]ifty years is on

the high end of how long sensitive documents usually are kept secret.” Doc. 2 at 4–5;

see also id. at 3 (noting that the Executive Order also ordered the declassification of

records about the assassinations of former President John F. Kennedy and Senator

Robert F. Kennedy).

      The MLK Files cannot be reasonably held to the same standard as the other

examples of “sensitive documents” the government invokes, as the surveillance tapes

of private citizens do not remotely resemble “presidential records, . . . predecisional

deliberative documents, . . . or national security information.” See Doc. 2 at 5.

Likewise, the public does not have the same interest in the MLK Files as it does in

the contents of files related to the assassination of a former president or senator. Dr.

King’s prominence as a high-profile figure does not eclipse the fact that he, and those

whom he worked with at SCLC, remained private citizens. See Martin Luther King

III Decl. ¶ 7 (“We also disagree that our family and the general public stand on equal

footing with respect to illicit recordings made of our family home.”); Dr. Bernice King

Decl. ¶ 11 (explaining that it would be a “travesty of justice” “to have the purported




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surveillance files made public,” because “[her] father was a private citizen, not an

elected official, who enjoyed the right to privacy.”).

          D. The MLK Files are inherently unreliable.

      The motives behind the FBI’s surveillance of Dr. King and SCLC—to vilify and

discredit them—cut against any notion that the release of the files will result in

increased transparency around Dr. King’s assassination.

      Indeed, the FBI was unabashed in its attempts to undermine Dr. King during

the period of surveillance, seeking to alter public opinion and discourage people from

working with him. The FBI produced a report called “Communism and the Negro

Movement—A Current Analysis,” which was sent to various high-ranking

government officials. 20 An assistant attorney general later described it as a “personal

diatribe . . . a personal attack without evidentiary support on the character, the moral

character and person of Dr. Martin Luther King, and it was only peripherally related

to anything substantive.” 21 A December 23, 1963 FBI memo said, “[A]t the proper

time when it can be done without embarrassment to the Bureau, [the FBI will] expose

King as an opportunist who is not a sincere person but is exploiting the racial

situation for personal gain.” 22 In 1964, an FBI official contacted the General

Secretary of the National Council of Churches of Christ to share the FBI’s beliefs

about Dr. King, to which the General Secretary responded, “steps have been taken by



20 S. Rep. No. 94-755 at 131–132, 481.
21 Id. (quoting testimony of Burke Marshall, Former Assistant Att’y Gen., C.R. Div.,

U.S. Dep’t of Just.).
22 Id. at 134 (quoting Memorandum from William Sullivan to Alan Belmont (Dec.

24, 1963)).

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the National Council of the Churches of Christ to make certain from this time on that

Martin Luther King will never get ‘one single dollar’ of financial support from the

National Council,” 23 suggesting that the FBI maligned Dr. King in these

communications. After learning of Dr. King’s attempt to publish an article with a

major national publication in September 1964, the FBI communicated with the

publication which, in turn, assured the FBI that it would “endeavor to assist” the FBI,

and made certain editorial decisions that cast Dr. King in a negative light. 24 While

Dr. King was in Europe to receive the Nobel Peace Prize in 1964, the FBI briefed

American diplomats located in cities that Dr. King might visit, in order to further

discredit King abroad. 25

      Specifically related to the FBI’s surveillance of Dr. King, after the FBI installed

the first two of what would later total at least 15 hidden microphones in Dr. King’s

hotel rooms, the FBI’s Internal Security Section wrote that it was attempting to

gather information about “the [private] activities of Dr. King and his associates” so

that Dr. King could be “completely discredited.” 26 While Dr. King was staying in

Honolulu and Los Angeles, FBI Director J. Edgar Hoover sent a copy of a

memorandum describing taped contents to Attorney General Robert Kennedy in

order to: “remove all doubt from the Attorney General’s mind as to the type of person



23 Id. at 142 (quoting Memorandum from William Sullivan to Alan Belmont (Dec.

16, 1964)).
24 Id. at 144 (quoting Memorandum to Catha DeLoach, (Nov. 3, 1964)); see id. at

145.
25 Id. at 144.
26 Id. at 120–121 (alteration in original) (quoting Memorandum from Frederick

Baumgardner to William Sullivan (Jan. 28, 1964)).

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King is. It will probably also eliminate King from any participation in [a memorial

for President Kennedy which the Attorney General was helping to arrange].” 27

Another FBI memorandum, from July 1964, noted that “[w]e are continuing to follow

closely King’s activities and giving consideration to every possibility for future similar

coverage that will add to our record on King so that in the end he might be discredited

and thus be removed from his position of great stature in the Negro community.” 28

      The FBI’s vendetta against King did not end with his death. Upon learning

that Congress was intending to make Dr. King’s birthday a national holiday, the

Crime Records Division of the FBI recommended briefing members of Congress on

Dr. King because they were “in a position to keep the bill from being reported out of

Committee if they realize King was a scoundrel.” 29

      Given the corrupt motivations of the FBI’s illegal surveillance of Dr. King,

release of the files would not increase transparency around Dr. King’s assassination,

as the Government asserts. Indeed, “[s]ome, perhaps many, of the recordings may be

fake.” Martin Luther King III Decl. ¶ 8. The MLK Files “have never undergone the

scrutiny of a digital forensic examination or a review to address the privacy concerns

of those recorded, nor have any historical scholars had an opportunity to examine

these files for their veracity, context, or authenticity.” Id. ¶ 9; see also Dr. Bernice




27 Id. at 122 (alteration in original) (quoting Memorandum from Frederick

Baumgardner to William Sullivan (Mar. 4, 1964)).
28 Id. at 122 (quoting Memorandum from Frederick Baumgardner to William

Sullivan (July 15, 1964)).
29 Id. at 183 (cleaned up) (quoting Memorandum from Milton Jones to Thomas

Bishop (Mar. 18, 1969)).

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King Decl. ¶ 10 (explaining that release of the MLK Files would “cause me and the

remaining living members of my family and my father’s legacy irreparable harm, due

to the history of fabricated assertions and disinformation from Director Hoover and

the Bureau, used as a disparagement campaign.”).

                                 CONCLUSION

      For these reasons, the Court should deny the Governments’ Motion to Unseal

Tapes and Documents.


      Respectfully submitted this 3rd day of April, 2025.


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                           CERTIFICATE OF SERVICE

      I certify that on April 3, 2025, I served a copy of the foregoing filing on counsel

for the United States by filing it with the Clerk of the Court through the CM/ECF

system, which will provide notice to all registered counsel of record.



Dated: April 3, 2025                    By: /s/ Sumayya Saleh
                                            Sumayya Saleh




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